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                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


    In re: Vehicle Driving Data Tracking Litigation   MDL____




            MEMORANDUM OF LAW IN SUPPORT OF MOTION OF PLAINTIFF
            JARIYA THONGSAWANG FOR TRANSFER AND CENTRALIZATION
                          PURSUANT TO 28 U.S.C. § 1407

           Pursuant to 28 U.S.C. § 1407 and the Rules of Procedure of the Judicial Panel on

Multidistrict Litigation, Plaintiff Jariya Thongsawang (“Plaintiff”) respectfully submits this

Memorandum of Law in Support of her Motion for Transfer and Centralization of all currently

filed federal cases and any subsequent tag-along cases (“Actions”) arising out of auto

manufacturers’ alleged unlawful collection and dissemination to third parties of consumer driving

data through in-vehicle telematics systems. Plaintiff requests that the cases be transferred and

consolidated in the Central District of California, before either the Honorable André Birotte, Jr.,

the Honorable Maame Ewusi-Mensah Frimpong, the Honorable Dolly M. Gee, the Honorable

Josephine L. Staton, the Honorable Fernando M. Olguin, or the Honorable Wesley L. Hsu.

      I.      INTRODUCTION

           This litigation involves the allegedly unlawful collection and dissemination of vehicle

driving data through in-vehicle telematics systems. Plaintiffs in these Actions allege that

Defendants General Motors LLC (“GM”), OnStar, LLC (“OnStar”), and LexisNexis Risk

Solutions Inc. (“LexisNexis” and, collectively, “Defendants”)1 unlawfully collected location and

driving behavior data from GM-manufactured vehicles and disseminated such data to third parties,


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  Any future actions alleging similar collection and dissemination of consumer driving data by
other auto manufacturers should be treated as tag-along cases and coordinated with these Actions.
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including but not limited to automobile insurance providers. The Actions were filed in the wake

of reporting by the New York Times that automobile manufacturers, like GM, are tracking drivers’

behavior through internet-connected vehicles and sharing it with data brokers such as LexisNexis

who, in turn, sell reports including this information to automobile insurance providers.

       Each of the Actions is a putative class action, and each is filed on behalf of virtually

identical nationwide classes and similar state subclasses of consumers who were subjected to the

alleged practices. See Chicco v. General Motors LLC et al., Case No. 9:24–cv–80281 (S.D. Fla.),

Complaint ¶ 71; Dinardo v. General Motors LLC et al., Case No. 3:24–cv–00524 (M.D. Pa.),

Complaint ¶ 40; King et al v. General Motors LLC et al., Case No. 2:24–cv–02560 (C.D. Cal.),

Complaint ¶ 61; Reed et al. v. General Motors LLC et al., Case No. 2:24–cv–10804–JJCG–CI

(E.D. Mich.), Complaint ¶ 57; Thongsawang v. General Motors LLC et al., Case No. 8:24–cv–

00695 (C.D. Cal.), Complaint ¶ 31; Block et al. v. General Motors LLC et al., Case No. 2:24–cv–

10824 (E.D. Mich.), Complaint ¶¶ 52, 53; and Landman v. General Motors LLC al., Case No.

1:24–cv–02238 (S.D.N.Y.), Complaint ¶ 51. While the causes of action vary slightly (some assert

common law and statutory privacy claims, while others include credit reporting claims), each case

is about the unlawful tracking of vehicle driving data without clear and informed consent, and all

of them should be centralized in one court.

       Plaintiff presently is aware of the seven Actions listed above and, based on the size of the

consumer population impacted by Defendants’ unlawful vehicle driving data collection and

dissemination, and the public reporting of these practices, Plaintiff anticipates that many additional

cases will be filed nationwide. All Actions currently on file are in their infancy. None of the

Defendants has answered the complaint in any of the Actions.




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         Based on the numerous common questions of fact involved in the Actions, the compelling

need to establish uniform and consistent standards in conducting pretrial discovery and motion

practice, and to avoid duplication of effort and the possibility of inconsistent rulings, Plaintiff

requests that the cases be transferred to and centralized in the Central District of California, which

offers the most efficient and convenient venue given the relatively low MDL burden in that district

and the abundance of highly qualified, diverse judges ready to manage this litigation.

   II.        BACKGROUND

         This Motion for Transfer and Centralization involves seven actions pending in five

different federal districts asserting common factual allegations and involving overlapping claims,

classes, and legal issues. Based on the extensive press coverage of Defendants’ nationwide

practices, and the number of consumers affected, Plaintiff expects additional actions to be filed in

additional federal jurisdictions alleging similar claims on behalf of similar classes.

         A.     Defendants’ Alleged Misuse of Plaintiffs’ Vehicle Driving Data

         On March 11, 2024, the New York Times reported that automobile manufacturers have been

tracking millions of drivers’ behavior through internet-connected vehicles and sharing it with data

brokers such as LexisNexis and Verisk. Many automobile manufacturers offer optional features in

their mobile apps that connect to the in-vehicle telematics system and rate the vehicle owner’s

driving behavior. When these features are activated, automobile companies can provide the

collected information to data brokers like LexisNexis and Verisk. Plaintiffs allege the

manufacturers never disclosed these collection practices or obtained informed consent. The data

brokers in turn create “consumer disclosure reports” of individuals’ driving history, which they

then sell to automobile insurance providers. These reports show trip length and driving behavior,

such as “hard braking,” “hard accelerating” and speeding, and many other data points. Insurance




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companies use the reports to assess the risk of a current or potential customer and adjust rates or

refuse coverage accordingly.

       Specifically, through its subsidiary OnStar, GM offers its “OnStar Smart Driver” service

for its Chevrolet, Buick, GMC, and Cadillac brand vehicles. Plaintiffs allege this service collects

information about a driver’s mileage, speed, braking, acceleration, and other data points, which

GM and OnStar share with LexisNexis. All Defendants subjected consumer plaintiffs to these

surveillance and insurance-pricing practices without clear disclosure and informed consent.

       B.      Plaintiffs

       All plaintiffs in the pending Actions have filed civil actions arising from Defendants’

unlawful data collection and dissemination practices. The Actions are pursued on behalf of persons

or entities whose vehicle driving data was collected and disseminated by Defendants.

       All pending federal cases present a common core of facts, in that each (i) alleges that

Defendants unlawfully stored, disseminated, and/or sold vehicle driving data collected through in-

vehicle telematics systems; (ii) asserts injury and damages arising from Defendants’ wrongful

conduct; and (iii) alleges the same or similar conduct by Defendants. Indeed, the factual allegations

in plaintiffs’ complaints are nearly identical in numerous critical respects.

       C.      Defendants

       Defendant General Motors LLC (“GM”) is a multinational automotive manufacturer that

owns and manufactures automobiles under multiple brand names, including Chevrolet, GMC,

Cadillac, and Buick. Defendant OnStar, LLC (“OnStar”) is a subsidiary of GM that provides

subscription-based communications, in-vehicle security, emergency services, turn-by-turn

navigation, and remote diagnostics systems for vehicles in the United States. Defendant

LexisNexis Risk Solutions Inc. (“LexisNexis”) is a global data and analytics company that




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provides data and technology services, analytics, predictive insights, and fraud prevention for a

wide range of industries, including automobile insurance providers.

           While it has been reported that other automobile manufacturers employ similar data

collection and dissemination practices, Plaintiff is not aware of any lawsuits against other

manufacturers. In the event that lawsuits are filed against other manufacturers based on similar

practices, they should all be transferred to, and centralized in, one court.

           D.     Status of the Actions

Plaintiffs filed the Actions in California, Florida, Michigan, Pennsylvania, and New York, all

within the three-week period following the New York Times’ initial article. Given the infancy of

these cases, none of the plaintiffs has been permitted to conduct discovery or take any other actions

that would move the matters toward trial such that transfer would be unduly prejudicial or

inefficient in any respect. These Actions are in the earliest procedural stage — no defendant has

answered — and, accordingly, it is an ideal time to coordinate the Actions.

    III.        ARGUMENT

           The Actions listed in the attached Schedule of Actions arise out of the same alleged

practices and name the same Defendants.2 There is substantial overlap between the causes of

action: each of the Actions advances claims based on common law and statutory privacy rights

such as the Thongsawang action; claims based on credit reporting statutes (which similarly focus

on consumer privacy protections afforded by such statutes), such as the King action; or both, such

as the Chicco action.




2
 Reed et al. v. General Motors LLC et al., Case No. 2:24–cv–10804–JJCG–CI (E.D. Mich.)
alleges claims against General Motors LLC and OnStar, LLC only.

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        The Actions involve common issues of fact. Centralization will promote the convenience

of the parties and witnesses as well as the just and efficient conduct of the litigation. See 28 U.S.C.

§ 1407. Transfer and centralization will mitigate the possibility of inconsistent rulings, including

rulings regarding class certification, and will promote judicial economy by providing a single

forum to which future tag-along actions can be transferred. Accordingly, Plaintiff respectfully

moves this Panel for transfer to the Central District of California, the most favorable district for

centralization, before either the Honorable André Birotte, Jr., the Honorable Maame Ewusi-

Mensah Frimpong, the Honorable Dolly M. Gee, or the Honorable Josephine L. Staton, the

Honorable Fernando M. Olguin, or the Honorable Wesley L. Hsu, all capable and experienced

jurists of the highest caliber.

    A. These Actions and Any Tag-Along Actions Are Appropriate for Transfer and
       Centralization Under 28 U.S.C. § 1407(a)

        Transfer and centralization is appropriate if civil actions pending in different districts

“involv[e] one or more common questions of fact” and this Panel determines that transfer will

further “the convenience of parties and witnesses and will promote the just and efficient conduct

of such actions.” 28 U.S.C. § 1407(a). “The objective of transfer is to eliminate duplication in

discovery, avoid conflicting rulings and schedules, reduce litigation costs, and save the time and

effort of the parties, the attorneys, the witnesses, and the courts.” Manual for Complex Litigation,

§ 20.131 (4th ed. 2004). Transfer and centralization for pretrial proceedings would achieve those

objectives here and should be granted.

        i. The Actions Involve Numerous Common Questions of Fact

        The first element of the Section 1407 transfer analysis is whether there are one or more

common questions of fact. See 28 U.S.C. § 1407. The statute, however, does not require a




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“complete identity or even [a] majority” of common questions of fact to justify transfer. In re

Zyprexa Prods. Liab. Litig., 314 F. Supp. 2d 1380, 1381 (J.P.M.L. 2004).

       The cases share a common core of operative factual allegations, namely the collection

and dissemination of consumer driving data without informed consent. The numerous factual

questions common to the Actions include:

       •   Whether Defendants disclosed their data collection and dissemination practices;

       •   Whether Defendants unlawfully collected and stored vehicle driving data of class
           members through telematics systems installed in GM-manufactured vehicles;

       •   Whether Defendants unlawfully transmitted or sold vehicle driving data of class
           members to unauthorized third parties without class members’ proper consent;

       •   Whether plaintiffs and the other members of the putative classes were injured by
           Defendants’ conduct and, if so, the determination of the appropriate class-wide measure
           of damages; and

       •   Whether plaintiffs and other members of the putative classes are entitled to, among
           other things, injunctive relief and, if so, the nature and extent of such relief.

       In addition, all Actions rely upon similar legal theories of recovery. These theories

include violation of the Fair Credit Reporting Act, 15 U.S.C. §1681, et seq., and violations of state

consumer protection statutes including N.Y. Gen. Bus. Law § 349; Cal. Bus. & Prof. Code § 17200

et seq.; Michigan Consumer Protection Act § 445.903(1); and Deceptive & Unfair Trade Practices

Act, Fla. Stat. § 501.201 et seq. Thus, the lawsuits share related underlying legal theories of

liability, each turning on Defendants’ unlawful data collection, storage, transmission, and sale

practices. As the Panel previously has stated, “the presence of additional or differing legal

theories is not significant when the actions still arise from a common factual core.” In re

Oxycontin Antitrust Litig., 542 F. Supp. 2d 1359, 1360 (J.P.M.L. 2008).

       Because numerous common issues of fact exist among these Actions, the pending actions

satisfy the first element of the transfer analysis under Section 1407.


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       ii. MDL Transfer and Centralization Will Further the Convenience of the Parties
           and the Witnesses

       Resolution of these common issues in a single forum would further the convenience of all

parties and witnesses. See 28 U.S.C. § 1407(a). Because all Actions involve similar allegations

and factual questions, plaintiffs in the Actions will require depositions of the same witnesses and

discovery of the same documents. Defendants likely will raise the same discovery objections and

claims of privilege, and will seek similar protective orders, in each case. Absent centralization and

transfer, all parties will be subjected to duplicative discovery and witnesses will face multiple,

redundant depositions. See, e.g., In re Pilot Flying J Fuel Rebate Contract Litigation (No. 11),

11 F. Supp. 3d 1351, 1352 (J.P.M.L. 2014) (“Centralization will avoid repetitive depositions of

[the defendant’s] officers and employees and duplicative document discovery regarding the

alleged scheme.”); In re Uranium Indus. Antitrust Litig., 458 F. Supp. 1223, 1230 (J.P.M.L. 1978)

(“[Plaintiffs] will have to depose many of the same witnesses, examine many of the same

documents, and make many similar pretrial motions in order to prove their . . . allegations. The

benefits of having a single judge supervise this pretrial activity are obvious.”).

       Absent transfer, the federal court system will be forced to administer — and Defendants

will be compelled to defend — these related Actions and any tag-along actions across multiple

venues, all proceeding on potentially different pretrial schedules and subject to different judicial

decision-making and local procedural requirements. Moreover, each plaintiff will be required to

monitor and possibly participate in each of the other similar actions to ensure that Defendants

do not provide inconsistent or misleading information. Many of the same pretrial disputes are

likely to arise in each action. Likewise, due to the similar causes of action in each complaint,

Defendants will likely assert the same defenses, as well as file motions to dismiss and for summary

judgment on the same claims based on the same arguments in each action.



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       None of the pending cases has progressed to the point where efficiencies will be forfeited

through transfer to an MDL proceeding. This Panel has recognized that consolidating litigation

in one court benefits both plaintiffs and defendants. For example, pretrial transfer would reduce

discovery delays and costs for plaintiffs, and permit plaintiffs’ counsel to coordinate their efforts

and share the pretrial workload. In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 173 F.

Supp. 2d 1377, 1379 (2001) (“[I]t is most logical to assume that prudent counsel will combine

their forces and apportion their workload in order to streamline the efforts of the parties and

witnesses, their counsel and the judiciary, thereby effectuating an overall savings of cost and a

minimum of inconvenience to all concerned.”); In re Baldwin-United Corp. Litigation, 581 F.

Supp. 739, 741 (J.P.M.L. 1984) (same). As for Defendants, fact and expert depositions will be

coordinated, document production will be centralized, and travel for its current and former

employees will be minimized, since they will only have to appear in one location rather than

multiple districts around the country.

       Transfer also will reduce the burden on the parties by allowing more efficient and

centralized divisions of workload among the attorneys already involved in this litigation, as well

as those who join later. Plaintiffs themselves will reap efficiencies from being able to divide up

the management and conduct of the litigation as part of a unified MDL process through a

plaintiffs’ steering committee or similar mechanism, instead of each plaintiffs’ firm separately

litigating its own cases on distinct and parallel tracks. See, e.g., In re Phenylpropanolamine

(PPA) Prods. Liab. Litig., 173 F. Supp. 2d at 1379; In re Tylenol Mktg., Sales Pracs. and Prods.

Liab. Litig., 936 F. Supp. 2d at 1379 (“Centralization will . . . conserve the resources of the

parties, their counsel, and the judiciary.”).




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       In sum, transfer of these Actions would serve the convenience of the parties and eliminate

duplicative discovery, saving the parties and the courts significant time, effort, and money.

   B. Transfer and Centralization Will Promote the Just and Efficient Conduct of These
      Actions

       Centralization is necessary to prevent inconsistent pretrial rulings on many central issues,

which would present significant problems due to the substantial consistency in factual and legal

allegations among all Actions. See In re: Lumber Liquidators Chinese-Manufactured Flooring

Products Mktg., Sales Practices and Products Liability Litig., 109 F. Supp. 3d at 1383

(“Centralization will . . . avoid inconsistent pretrial rulings (including on issues of class

certification and Daubert motion practice).”). A single MDL judge coordinating pretrial discovery

and ruling on pretrial motions in all of these federal cases will minimize this potential for

conflicting rulings, while also reducing witness inconvenience, the burden on multiple courts, and

the litigation’s overall expense. In re: Xarelto (Rivaroxaban) Prods. Liab. Litig., 65 F. Supp. 3d

1402, 1405 (J.P.M.L. 2014) (“Centralization will eliminate duplicative discovery; prevent

inconsistent pretrial rulings; and conserve the resources of the parties, their counsel and the

judiciary.”); In re Tylenol Mktg., Sales Pracs. and Prods. Liab. Litig., 936 F. Supp. 2d at 1379

(“Centralization will . . . prevent inconsistent pretrial rulings (on Daubert issues and other

matters).”).

       Centralization will mitigate these problems by enabling a single judge to manage discovery

and coordinate the parties’ efforts. This will reduce litigation costs and minimize inconvenience

to the parties and witnesses, to the benefit of litigants, third parties, and the courts. See In re

Enfamil Lipil Mktg. and Sales Practices Litig., 764 F. Supp. 2d 1356, 1357 (J.P.M.L. 2011)

(“Centralizing the actions will allow for the efficient resolution of common issues and prevent

unnecessary or duplicative pretrial burdens from being placed on the common parties and



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witnesses.”); In re: Lumber Liquidators Chinese-Manufactured Flooring Products Mktg., Sales

Practices and Products Liability Litig., 109 F. Supp. 3d at 1383 (“Centralization will . . . conserve

the resources of the parties, their counsel and the judiciary.”).

       Centralizing these Actions under Section 1407 will ensure streamlined resolution of this

litigation to the overall benefit of the parties and the judiciary. In re Amoxicillin Patent &

Antitrust Litig., 449 F. Supp. 601, 603 (J.P.M.L. 1978) (granting transfer and consolidation of

three cases “[b]ecause of the presence of complex factual questions and the strong likelihood

that discovery concerning these questions will be both complicated and time-consuming, we rule

that transfer under Section 1407 is appropriate at the present time even though only three actions

are presently involved”).

       Finally, it is possible that this litigation will continue to grow. It has only been three

weeks since the initial New York Times article alerted affected consumers to Defendants’

unlawful practices. In that time, seven lawsuits have been filed, but there are potentially millions

of other affected consumers who could file suit. The likelihood that this litigation will continue

to grow further weighs in favor of centralization. See In re Schnuck Markets, Inc., Customer

Data Sec. Breach Litig., 978 F. Supp. 2d 1379, 1381 (J.P.M.L. 2013) (granting § 1407 motion

where the estimated number of affected customers across five states indicated that additional

tag-along actions could be filed).

       Accordingly, transfer to a single district court is appropriate for the just and efficient

resolution of these cases.

   C. The Central District of California Is an Appropriate and Optimal Transferee Forum,
      Offering a Plethora of Qualified Judges, Including Judges Birotte, Frimpong, Gee,
      Staton, Olguin, and Hsu

       Plaintiff respectfully submits that the Central District of California is the superior forum




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for the centralized action, and Judges Birotte, Frimpong, Gee, Staton, Olguin, and Hsu all would

make ideal transferee judges. In choosing an appropriate transferee forum, this Panel considers:

(1) where the largest number of cases is pending; (2) where discovery has occurred; (3) where

cases have progressed furthest; (4) the site of the occurrence of the common facts; (5) where the

cost and inconvenience will be minimized; and (6) the experience, skill, and caseloads of available

judges. Manual for Complex Litigation, § 20.132 (4th ed. 2004). While several of these criteria are

not yet implicated due to the infancy of the Actions, the Central District of California presents the

most appropriate forum for the transfer and centralization of these actions, primarily because it has

only one vacancy and a low number of MDLs, a well-experienced and diverse judiciary, and is

where two of the seven Actions are pending.

       i.      The Central District of California Has Favorable Docket Conditions and the
               Judicial Resources to Efficiently Manage the Litigation

       The Panel favors districts where the courts have capacity to handle the cases, and the

transferred cases will not add to an already overburdened docket. In re Webvention LLC (‘294)

Patent Litig., 831 F. Supp. 2d 1366, 1367 (J.P.M.L. 2011) (avoiding transfer to districts with “large

civil caseloads” and choosing a transferee court with “more favorable” docket conditions). The

Panel considers docket conditions in selecting a transferee district. Multidistrict Lit Man § 6:17.

See also In re Wright Medical Technology, Inc., Conserve Hip Implant Products Liability

Litigation, 844 F. Supp. 2d 1371 (J.P.M.L. 2012); In re Skechers Toning Shoe Products Liability

Litigation, 831 F. Supp. 2d 1367 (J.P.M.L. 2011).

       According to Federal Court Management Statistics published on December 31, 2023, the

median time from filing to disposition for civil cases in the Central District of California is 4.1




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months.3 By comparison, in the other districts where remaining Actions are filed, the median time

from filing to disposition is significantly greater: 7.8 months in the Eastern District of Michigan;

10.8 months in the Middle District of Pennsylvania; and 5.6 months in the Southern District of

New York.4 Therefore, the Central District of California has the “fastest” docket among the district

courts where the Actions are pending.

       The Central District of California currently has capacity to receive the transfer of these

Actions. According to this Panel’s statistics, as of April 1, 2024, there are only five MDL

proceedings pending in the Central District of California.5 With 36 District Judges (including those

on senior status) and 24 Magistrate Judges, the Central District of California is well-equipped to

handle, and experienced in handling, such complex proceedings.

       Furthermore, the Central District of California has the second lowest MDL-to-judge ratio

of all the districts where Actions have been filed to date: the Southern District of Florida currently

has nine MDLs on its docket across a total of 29 judges; the Eastern District of Michigan currently

has five MDLs on its docket across a total of 23 judges; the Southern District of New York

currently has 11 MDLs on its docket across a total of 47 judges; and the Middle District of

Pennsylvania currently has one MDL on its docket across a total of nine judges. Therefore, the

Central District of California is the ideal transferee court for these Actions.




3
 See Comparison of Districts Within the First Circuit – 12-Month Period Ending December 31,
2023, available at
https://www.uscourts.gov/sites/default/files/fcms_na_distcomparison1231.2023.pdf (last visited
April 5, 2024).
4
 Id. The data for the median time from filing to disposition for civil cases is listed as 0.0 for the
Southern District of Florida in the September 30, 2023, and December 31, 2023 reports.
5
 See MDL Statistics Report – Distribution of Pending MDL Dockets by District, April 1, 2024,
available at
https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
April-1-2024.pdf (last visited April 5, 2024).

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       ii.      The Central District of California Has a Diverse, Energetic, and Experienced
                Judiciary with the Resources to Take on a Major MDL

       The availability of an experienced, competent judge weighs heavily in favor of transferring

a case to that district. The Central District of California’s judiciary is an embarrassment of riches,

and any of its judges would be excellent, including Judges Birotte, Frimpong, Gee, Staton, Olguin,

and Hsu. All of these judges are experienced, capable, and well-qualified to preside over this MDL.

       Notably, Judge Birotte, who was assigned to the Thongsawang case, currently presides

over a similarly complex and high-profile vehicle MDL that is scheduled to go to trial on June 24,

2024. In re Ford Motor Co. DPS6 PowerShift Transmission Prods. Liab. Litig., MDL No. 2814

(J.P.M.L. 2018). Judge Birotte has presided over many additional complex and high-profile cases

since his appointment to the bench in 2014.

       Judge Birotte’s experience before his appointment to the bench also testifies to his

capabilities. Before being sworn in as a federal district judge, Judge Birotte served as United States

Attorney for the Central District of California from 2010 to 2014. As United States Attorney, Judge

Birotte was responsible for overseeing approximately 265 attorneys and 200 staff members located

in offices in Los Angeles, Riverside, and Santa Ana. From 2003 to 2010, Judge Birotte served as

Inspector General of the Los Angeles Police Department. Judge Birotte also served as an Assistant

United States Attorney in the Central District from 1995 to 1999 and as a Deputy Public Defender

in Los Angeles County from 1991 to 1995.

       Judge Maame Ewusi-Mensah Frimpong also would make an excellent choice. She was

appointed to her current position in early 2022, and now has more than two years of experience on

the federal bench with complex matters, in addition to approximately seven years as a judge of the

Los Angeles County Superior Court. She does not currently preside over any MDL. She is more

than capable and ready to handle one now.



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        Judges Gee, Staton, and Olguin all have been on the federal bench for more than 10 years

and are well-seasoned jurists of the highest caliber. None of these experienced judges is currently

presiding over an MDL.

        Judge Wesley L. Hsu was appointed to the Central District of California in 2023 and has

nearly six years of experience as a judge of the Los Angeles County Superior Court. Judge Hsu

also is not currently presiding over any MDL. Judge Hsu has particularly relevant expertise in

cybersecurity. His 17-year tenure as an assistant United States attorney in the U.S. Attorney’s

Office for the Central District of California included seven years as chief of the Cyber and

Intellectual Property Crimes Section and makes him particularly well-equipped, and an excellent

choice, to handle this litigation.

        Selection of any of these esteemed and extremely qualified judges also would advance the

cause of promoting diversity in the roster of MDL judges.6

        iii.      The Remaining Factors Are Neutral

        The remaining factors are neutral, favoring no specific district. There is no large number

of cases in any one district. (The Central District of California and in the Eastern District of

Michigan tie for the largest number of cases, with two pending in each venue.) Each of the Actions

is in its infancy, Defendants have not answered any of the complaints, and no discovery has

occurred. With electronic discovery predominating, the site of the occurrence is less important

than in a case where the location of physical evidence takes center stage. Further, because the




6
 See Duke Law Guidelines and Best Practices Addressing Chronic Failure to Diversify Leadership
Positions in the Practice of Law (First Draft Pending Revision) (May 10, 2018) (“The JPML should
continue to diversify the composition of appointed MDL transferee judges.”), available at
https://judicialstudies.duke.edu/wp-content/uploads/2018/05/Panel-6-Duke-Law-Guidelines-
And-Best-Practices-Addressing-Chronic-Failure-To-Diversify-Leadership-Positions-In-The-
Practice-Of-Law.docx.

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different defendants are headquartered in different venues, and because the affected consumers are

nationwide, there are many different sites for the alleged collection, dissemination, or use of the

data. The parties will cooperate to take depositions at a place that is convenient for each of the

witnesses.

III.   CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that her motion be granted and

that the Panel order transfer of the Actions listed in the attached Schedule of Actions, plus any

future tag-along actions, to the Central District of California, before Judges Birotte, Frimpong,

Gee, Staton, Olguin, or Hsu, for consolidated pretrial proceedings in accordance with 28 U.S.C.

§ 1407.



Dated: April 5, 2024                         Respectfully submitted,

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